       Case 1:13-cr-00017-DLH           Document 264       Filed 10/07/14      Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA
                              SOUTHWESTERN DIVISION

United States of America,           )
                                    )
              Plaintiff,            )         ORDER FOR RELEASE
                                    )         OF MEDICAL RECORDS
       vs.                          )
                                    )
Justin John Hinkel,                 )         Case No.: 1:13-cr-017
                                    )
              Defendant.            )
                                    )


        Defendant Justin John Hinkel is a federal prisoner being held at the Stutsman County

Correctional Center in Jamestown, North Dakota. Defendant’s attorney, Tom Dickson has

requested the court to issue an order allowing the Jamestown Regional Medical Center to release

defendant’s medical records. For good cause shown, it is hereby ORDERED that the Jamestown

Regional Medical Center may release Justin John Hinkel’s medical records to his attorney, Tom

Dickson.

       Dated this 7th day of October, 2014.

                                              /s/ Charles S. Miller, Jr.
                                              Charles S. Miller, Jr., Magistrate Judge
                                              United States District Court
